                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WISCONSIN

SYLVIA GEAR, MALEKEH K. HAKAMI, )
PATRICIA GINTER, CLAIRE WHELAN, )
WISCONSIN ALLIANCE FOR RETIRED )
AMERICANS, LEAGUE OF WOMEN                    )
VOTERS OF WISCONSIN,                          )
                                              )
                Plaintiffs,                   )
                                              )        No. 20-CV-278
        v.                                    )
                                              )
DEAN KNUDSON, JULIE M. GLANCEY, )
ROBERT F. SPINDELL, JR., MARK L.              )
THOMSEN, ANN S. JACOBS, MARGE )
BOSTELMANN, in their official capacity )
as members of the Wisconsin Election          )
Commission, MEAGAN WOLFE, in her              )
official capacity as the Administrator of the )
Wisconsin Elections Commission,               )
                                              )
                Defendants.                   )
                                              )

            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

       Plaintiffs Sylvia Gear, Dr. Malekeh K. Hakami, Patricia Ginter, Claire Whelan, Wisconsin

Alliance for Retired Americans, and League of Women Voters of Wisconsin (“LWVWI”)

(collectively, “Plaintiffs”) seek declaratory and injunctive relief as follows:

                                     NATURE OF ACTION

       1.      The COVID-19 pandemic presents an unprecedented challenge to our nation,

threatening millions of Americans’ lives and livelihoods and severely straining health care

systems, the economy, and all levels and branches of government. It is wreaking havoc across all

sectors and causing massive disruptions in election administration during this presidential election

year. COVID-19’s high transmission rate poses a severe risk to in-person voters, particularly those

in at-risk groups, and has already resulted in massive withdrawals by volunteer poll workers who
justifiably fear contracting the disease. A number of states’ officials have already felt compelled

to postpone primary and other elections in the face of this rapidly escalating public health

emergency.

       2.      In order to reduce the transmission of COVID-19, on Tuesday March 24, 2020,

Governor Tony Evers issued Emergency Order #12, the “Safer at Home” Order, closing all

nonessential businesses in Wisconsin and ordering the state’s residents to stay at home, with

limited exceptions for essential businesses, occupations, and governmental functions.1 Governor

Evers cautioned the public against making “unnecessary trips” and is requiring that travel be

limited to “essential needs like going to the doctor, grabbing groceries, or getting medication.”2

       3.      The Order commands that, “All public and private gatherings of any number of

people that are not part of a single household or living unit are prohibited, except for the limited

purposes expressly permitted in this Order.”3 It also requires that, “Elderly people and those who

are vulnerable as a result of underlying health conditions should take additional precautions.

People at high risk of severe illness from COVID-19 and people who are sick are urged to stay in

their home or residence to the extent possible except as necessary to seek medical care.”4 The

Order may be enforced by local law enforcement, and “[v]iolation or obstruction . . . is punishable

by up to 30 days imprisonment, or up to $250 fine, or both. Wis. Stat. § 252.25.”5




1
     Emergency Order #12, Safer at Home Order, at 2, available at
https://evers.wi.gov/Documents/COVID19/EMO12-SaferAtHome.pdf.
2
     Gov. Tony Evers (@GovEvers), TWITTER (Mar. 23, 2020, 10:34 AM),
https://twitter.com/GovEvers/status/1242097501575901187.
3
  See supra note 1, Emergency Order #12, at 3.
4
  Id. at 4. “Currently at least 14 states and 22 municipalities have ordered 152,485,515 people or
46% of the U.S. population to stay home as a result of the pandemic, according to data compiled
by @CNN using U.S. Census population estimates.”
5
  See supra note 1, Emergency Order #12, at 16.
                                                 2
       4.      The pandemic shows no sign of abating before Wisconsin’s April 7, 2020 statewide

elections, and the emergency order issued by Governor Evers’ administration took effect on March

25, 2020 at 8:00 a.m. and will remain in effect until April 24, 2020 at 8:00 a.m. Additionally,

countless eligible Wisconsin voters have been self-quarantining and will continue to self-

quarantine for fear of contracting COVID-19, and/or for fear of transmitting the disease, whether

they are symptomatic or not.

       5.      Election codes in Wisconsin and other states never contemplated such a crisis.

Given the rapidly spreading infection, many states’ election laws now force voters to choose

between exposing themselves to a severe risk to their health and exercising their constitutionally-

protected right to vote. This could not have been anticipated or intended by legislators. State laws,

including state constitutions, also constrain public officials’ ability to modify voting procedures to

ensure that eligible voters, particularly voters at heightened risk of contracting and dying from

COVID-19, can continue to participate in our democracy even during a national public health

emergency.

       6.      In light of the pandemic, many Wisconsin voters are abandoning plans to vote in

person for the April 7, 2020 statewide elections – which include a Wisconsin Supreme Court race,

the Democratic primary for the presidential election, and thousands of elections for county and

municipal offices throughout the state – and are requesting absentee, mail-in ballots in

unprecedented numbers. As of the morning of March 25, 2020, 626,837 absentee, mail-in ballots

have been requested, and 595,195 have been sent.6




6
 Wisconsin Elections Commission, Absentee Ballot Report - April 7, 2020 Spring Election and
Presidential Preference Primary, https://elections.wi.gov/node/6775/ (last visited Mar. 25, 2020).
                                                  3
       7.      By Wisconsin law, these absentee, mail-in ballots must be signed by the voter and

also signed by a witness who is an adult U.S. citizen. Wis. Stat. § 6.87(4)(b)(1). This requirement

poses a significant barrier to absentee, mail-in voting for any self-quarantining eligible voter who

lives alone or who does not have an adult U.S. citizen in their household. Indeed, for these voters,

it will be simply impossible to satisfy the witness signature requirement to cast an absentee, mail-

in ballot, and that voter will be denied their right to vote—caught in an unconstitutionally

burdensome and unnecessary choice between their life and their liberty. There are over 675,000

single-member households in Wisconsin, and many other households that include only one adult.7

More than 250,000 of these single-member households are individuals over the age of 65.8

       8.      Since in-person voting would pose a severe risk to the bodily integrity and lives of

these individuals, that option is no option at all. Taken together, the risks inherent in in-person

voting and in securing a witness signature for an absentee mail-in ballot preventing certain eligible

Wisconsin voters who live alone or without an adult U.S. citizen in the household from casting a

vote. Enforcing this statutory requirement constitutes an undue burden on the right to vote not

justified by any legitimate or important government interest of the First and Fourteenth

Amendments to the U.S. Constitution.

       9.      Plaintiff Patricia Ginter has received a mail-in absentee ballot in the mail; Dr.

Malekeh Hakami and Claire Whelan have requested mail-in absentee ballots; Plaintiff Sylvia Gear

intends to request a mail-in absentee ballot this week. Because they all live alone and are all self-

quarantining during the COVID-19 pandemic, given their advanced age and medical histories, the

CDC’s recommendations, and now Governor Evers’s Emergency Order #12, Plaintiffs have no



7
  See U.S. Census Bureau, 2013-2017 American Community Survey 5-Year Estimates, Table 2501,
Occupancy Characteristics.
8
  Id.
                                                 4
way to safely obtain a witness signature on their mail-in absentee ballots certifications. Absent a

court order enjoining the witness signature requirement for the duration of the COVID-19

pandemic, and certainly no less than the duration of Governor Evers’s Emergency Order #12

(currently in effect through April 24, 2020, subject to any further extension), they will be denied

their right to vote in violation of the First and Fourteenth Amendments to the U.S. Constitution.

                                 JURISDICTION AND VENUE

       10.     This Court has jurisdiction over Plaintiffs’ claims pursuant to 28 U.S.C. §§ 1331

and 1343 because this case arises under the United States Constitution and seeks equitable and

other relief for the deprivation of constitutional rights under color of state law.

       11.     This Court has jurisdiction to award attorneys’ fees and costs pursuant to 42 U.S.C.

§ 1988 and 28 U.S.C. § 1920.

       12.     This Court has jurisdiction to grant declaratory relief pursuant to 28 U.S.C. §§ 2201

and 2202.

       13.     This Court has personal jurisdiction over Defendant-Commissioners Dean

Knudson, Julie M. Glancey, Mark L. Thomsen, Ann S. Jacobs, Marge Bostelmann, and Robert F.

Spindell, Jr., the members of the Commission, and Meagan Wolfe, the Administrator of the

Commission, who are sued in their official capacities. Defendants Knudson, Glancey, Thomsen,

Jacobs, Bostelmann, Spindell, Jr. and Wolfe are state officials who reside in Wisconsin and work

in Madison, Wisconsin.

       14.     Venue is appropriate in the Western District of Wisconsin, under 28 U.S.C. §

1391(b)(1), because Defendants are state officials working in Madison, Wisconsin. A substantial

part of the events giving rise to these claims occurred and continues to occur in this district, making

venue also proper under 28 U.S.C. § 1391(b)(2).



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                                            PARTIES

       15.     Plaintiff Sylvia Gear is an 83-year-old retired teacher who lives alone at her

residence in Cudahy, Wisconsin. She is a United States citizen, has never lost her right to vote by

reason of a felony conviction or a court order, and is a registered Wisconsin voter. Ms. Gear is a

member of Plaintiff Wisconsin Alliance for Retired Americans. Ms. Gear is at risk of severe

complications from the novel coronavirus and COVID-19 because of her age and her medical

history as a cancer survivor. For this reason, she is self-quarantining at her home, and she has not

allowed anyone in her house for approximately two weeks. There have been only two exceptions

over the last two weeks: (1) she went to a Pick ‘n Save once last week to obtain necessary pain

medication that could only be obtained in person, and (2) she went to the bank to deposit a check.

While she was at the store, she picked up a few groceries, wearing gloves for protection.

Otherwise, she has not been anywhere else except her house in approximately two weeks. Ms.

Gear has also recently had shots for pain from three fractured vertebrae, which make it quite

painful and difficult to walk at present. Because of the COVID-19 pandemic, a scheduled shot for

the pain management was canceled and is being rescheduled to a future date. Ms. Gear usually

goes to her sister’s house for dinner on Monday, but she has not done that for two weeks. One of

her sisters cooked food for her this week and left it on her doorstep. Otherwise, Ms. Gear has been

able to subsist on the food she has in her home. She has not been to any of her regular social

activities in approximately three weeks, including attending Sisters of St. Francis in St. Francis,

Wisconsin and gathering with her teacher friends at a weekly fish fry at a local restaurant. She

had to miss her granddaughter’s and grandnephew’s birthdays. Because Ms. Gear is quarantining

herself pursuant to government recommendations and now Emergency Order #12, and cutting off

all in-person contact unless it is absolutely necessary, e.g. to obtain medication, she must vote by



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mail-in absentee ballot to avoid the severe risks to her health and life posed by in-person voting.

She intends to submit a mail-in absentee ballot request online at myvote.wi.gov this week. Ms.

Gear is aware that a witness signature is required to cast a mail-in absentee ballot. However,

because she lives alone and is self-quarantining, she has no way to obtain a witness’s signature on

her absentee ballot without seriously endangering herself.

       16.     Plaintiff Dr. Malekeh K. Hakami is a 73-year-old clinical psychologist who lives

alone at her residence in Pewaukee, Wisconsin. She is a United States citizen, has never lost her

right to vote by reason of a felony conviction or a court order, and is a registered Wisconsin voter.

Dr. Hakami is at risk of severe complications from the novel coronavirus and COVID-19 because

of her age and because she has a history of severe hay fever, for which she has needed shots in the

past. For these reasons, she has put herself under self-quarantine at her home. Her daughter-in-

law purchases her groceries for her and leaves them at Dr. Hakami’s residence; Dr. Hakami does

not open the door for her. Dr. Hakami has not allowed anyone to enter her house in approximately

two weeks pursuant to government recommendations and now Emergency Order #12, and she is

cutting off all in-person contact.     Because Dr. Hakami is quarantining herself pursuant to

government recommendations and now Emergency Order #12 and cutting off all in-person contact

unless it is absolutely necessary, e.g. to obtain medication, she must vote by mail-in absentee ballot

to avoid the severe risks to her health and life posed by in-person voting. She has submitted an

absentee, mail-in ballot request but has not yet received it in the mail. Dr. Hakami is aware that a

witness signature is required to cast a mail-in absentee ballot. However, because she lives alone

and is self-quarantining, she has no way to obtain a witness’s signature on her absentee ballot

without seriously endangering herself.




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       17.     Plaintiff Patricia Ginter is a 72-year-old realtor who lives alone at her residence in

Wauwatosa, Wisconsin. She is a United States citizen, has never lost her right to vote by reason

of a felony conviction or a court order, and is a registered Wisconsin voter. Ms. Ginter is at risk

of severe complications from the novel coronavirus and COVID-19 because of her age and her

medical history of hypertension. For this reason, she has been self-quarantining at her home for

approximately two weeks, and she has not allowed anyone in her house for a couple of weeks.

There has been only one exception over the last two weeks: she went to the grocery store once.

Other than what she bought at the grocery store, she has been subsisting on the food in her

cupboard and her freezer. Because Ms. Ginter is quarantining herself pursuant to government

recommendations and now Emergency Order #12 and cutting off all in-person contact unless it is

absolutely necessary, e.g. to obtain food, she must vote by mail-in absentee ballot to avoid the

severe risks to her health and life posed by in-person voting. She applied for and obtained a mail-

in absentee ballot. Ms. Ginter filled out the mail-in absentee ballot, making her choices, but then

noticed the witness signature requirement in the instructions. Because she lives alone and is self-

quarantining, she has no way to obtain a witness’s signature on her mail-in absentee ballot without

seriously endangering herself.

       18.     Plaintiff Claire Whelan is a 64-year-old retiree who lives alone at her residence in

Appleton, Wisconsin. She is a United States citizen, has never lost her right to vote by reason of

a felony conviction or a court order, and is a registered Wisconsin voter. Ms. Whelan is a member

of the League of Women Voters of Wisconsin of Appleton and therefore a member of Plaintiff

League of Women Voters of Wisconsin. Ms. Whelan is at risk of severe complications from the

novel coronavirus and COVID-19 because of her age and her preexisting condition of asthma. To

protect herself, she has been self-quarantining at her apartment for over a week. Additionally, Ms.



                                                 8
Whelan wants to take every precaution to minimize the chance that she is exposed to COVID-19,

because she wants to maximize the chance that she can once again visit her mother, who is 93

years old and lives in a nursing home nearby. She fears bringing the virus into that facility, but

also fears that her mother could rapidly decline, while the nursing home remains on lockdown.

She saw her mother two Fridays ago, just before the nursing home barred all visitors, family, and

volunteers. Since last Saturday when she went to a grocery store to buy provisions, Ms. Whelan

has not been to any other businesses, not even a grocery store or pharmacy. She was too scared to

even fill up her car at a gas station; she did not want to take any chances. Ms. Whelan has been

able to subsist on the food in her home. Because Ms. Whelan is quarantining herself pursuant to

government recommendations and now Emergency Order #12 and cutting off all in-person contact

unless it is absolutely necessary, e.g. to obtain more food or medication, she must vote by mail-in

absentee ballot to avoid the severe risks to her health and life posed by in-person voting. Ms.

Whelan requested a mail-in absentee ballot online on March 20, 2020. She is waiting until the end

of the month, when she drops off her rent check late at night to avoid other people, to see if her

ballot has arrived in her mailbox. Ms. Whelan is aware that a witness signature is required to cast

a mail-in absentee ballot. However, because she lives alone and is self-quarantining, she has no

way to obtain a witness’s signature on her absentee ballot without seriously endangering herself.

       19.     Plaintiff Wisconsin Alliance for Retired Americans (“Wisconsin Alliance”) was

founded on March 14, 2005. Wisconsin Alliance has 103,611 members, composed of retirees from

public and private sector unions, community organizations and individual activists. It is

incorporated in the State of Wisconsin as a 501(c)(4) social welfare organization under the Internal

Revenue Code.




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        20.     Alliance for Retired Americans is a national organization with more than 4.3

million members in all 50 states. The national Alliance charters state organizations, such as the

Wisconsin Alliance, which then elect officers, form a governing board, affiliate local chapters and

organize members in the state.

        21.     Wisconsin Alliance’s board is presided over by Marlene Ott, a retired member of

the National Education Association (“NEA”). President Ott presides over a board with a treasurer,

secretary and vice president representatives from the largest affiliates. During monthly meetings,

they organize activities, initiate programs, and maintain the governance of Wisconsin Alliance in

the state.

        22.     Wisconsin Alliance participates in an organizing calendar that resembles and

reflects the national Alliance for Retired Americans, with Wisconsin-specific additions. This

calendar includes engaging local, state and federal representatives about issues and laws that affect

retirees and seniors, highlighting May as Older Americans Month and celebrating the anniversaries

of Social Security and Medicare.

        23.     Wisconsin Alliance also engages in member education about elections.

Historically, Wisconsin Alliance has provided information to members about how their elected

leaders have voted on issues that impact the lives of seniors and provided information about how

to cast a ballot.

        24.     The interests Wisconsin Alliance seeks to protect in this action, the voting rights of

its members and of all retired Wisconsinites, are germane to the organization’s purpose as detailed

above. As a membership organization, Wisconsin Alliance suffers the constitutional injury of its

members, like Plaintiff Sylvia Gear.




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       25.     Plaintiff League of Women Voters of Wisconsin (“LWVWI”) is a nonpartisan,

nonprofit, non-stock corporation organized under the laws of the State of Wisconsin with its

principal office located at 612 West Main St., Suite 200, in the City of Madison, Dane County,

Wisconsin. LWVWI is an affiliate of The League of Women Voters of the United States, which

has 750 state and local Leagues in all 50 states, the District of Columbia, Puerto Rico, the Virgin

Islands, and Hong Kong. LWVWI works to expand informed, active participation in state and

local government, giving a voice to all Wisconsinites.

       26.     LWVWI, a nonpartisan community-based organization, was formed in 1920,

immediately after the enactment of the Nineteenth Amendment granting women’s suffrage. The

LWVWI is dedicated to encouraging its members and the people of Wisconsin to exercise their

right to vote as protected by the Constitution and the Voting Rights Act of 1965. The mission of

LWVWI is to promote political responsibility through informed and active participation in

government and to act on selected governmental issues. The League seeks to maximize eligible

voter participation through its voter registration efforts and encourage civic engagement through

registration and voting.

       27.     The LWVWI impacts public policies, promotes citizen education, and makes

democracy work by, among other things, removing unnecessary barriers to full participation in the

electoral process. Currently LWVWI has 20 local Leagues and approximately 2,200 members,

including Plaintiffs Dr. Malekeh Hakami and Claire Whelan. LWVWI works with and through 20

local Leagues in the following cities, counties, and areas throughout Wisconsin: Appleton,

Ashland/Bayfield Counties, Beloit, Dane County, Door County, the Greater Chippewa Valley,

Greater Green Bay, Janesville, the La Crosse area, Manitowoc County, Milwaukee County, the




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Northwoods, Ozaukee County, the Ripon area, Sheboygan County, the Stevens Point area, the

Upper St. Croix Valley, the Whitewater area, Winnebago County, and the Wisconsin Rapids area.

       28.     LWVWI began as an organization focused on the needs of women and training

women voters. It has evolved into an organization concerned with educating, advocating for, and

empowering all Wisconsinites. With members in nearly every county in the State, the LWVWI’s

local Leagues are engaged in numerous activities, including hosting public forums and open

discussions on issues of importance to the community. Individual League members invest

substantial time and effort in voter training and civic engagement activities, including voter

registration and get-out-the-vote (“GOTV”) efforts.      LWVWI has developed the statewide

Election Observation Program and the Vote411 voter guide for Wisconsin.

       29.     LWVWI also devotes substantial time and effort to ensuring that government at

every level works as effectively and fairly as possible. This work involves continual attention to

and advocacy concerning issues of transparency, a strong and diverse judiciary, fair and equal

nonpartisan redistricting, and appropriate government oversight.

       30.     The interests LWVWI seeks to protect in this action, the voting rights of its

members and all eligible Wisconsin voters, are germane to the organization’s purpose as detailed

above. As a membership organization, LWVWI suffers the constitutional injury of its members,

like Plaintiff Claire Whelan.

       31.     Defendants Dean Knudson, Julie M. Glancey, Mark L. Thomsen, Ann S. Jacobs,

Marge Bostelmann, and Robert F. Spindell, Jr. are sued in their official capacities as the members

of the Wisconsin Elections Commission.

       32.     Defendant Meagan Wolfe is sued in her official capacity as the Administrator of

the Wisconsin Elections Commission.



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                                        BACKGROUND

       33.     In December 2019, a novel strain of the coronavirus was detected, now named

SARS-CoV-2, and the disease it causes became known as COVID-19; it has now spread

throughout the world, including to every state in the United States.

       34.     On January 30, 2020, the World Health Organization declared COVID-19 to be a

Public Health Emergency of International Concern. On March 11, 2020, the WHO declared that

it had become a pandemic.

       35.     The novel coronavirus that causes COVID-19 continues to spread at an

unprecedented pace around the world and within the United States. There are currently 68,534

confirmed cases in the United States, and there have been 990 deaths nationwide.9 As of the

evening of March 25, 2020, authorities had confirmed 585 positive cases of coronavirus in

Wisconsin, and seven people have died. As of March 23, 2020, within 72 hours, positive COVID-

19 cases rose in the United States from 15,219 to 33,404 (a 119% increase) and rose in Wisconsin

from 206 to 416 (a 102% increase).10

       36.     Epidemiologists and infectious disease specialists are still gaining visibility on the

pandemic, but COVID-19 appears to be much more contagious than influenza, SARS, or MERS,

and significantly more lethal than influenza.

       37.     According to the Centers for Disease Control and Prevention (“CDC”), people who

are 65 years old or older or who have underlying health conditions and diseases, such as chronic

lung diseases, asthma, serious heart conditions, and others that suppress immune systems like




9
   Mitch Smith et al, Coronavirus in the U.S.: Latest Map and Case Count, N.Y. TIMES
https://www.nytimes.com/interactive/2020/us/coronavirus-us-cases.html (last visited Mar. 26,
2020).
10
   See supra note 1, Emergency Order #12, at 1.
                                                13
HIV/AIDS, are at higher risk of complications from COVID-19.11 The CDC’s website, relying

upon research from the National Center for Immunization and Respiratory Diseases (NCIRD),

Division of Viral Diseases, notes that immunocompromised individuals are at severe risk from

COVID-19: “Many conditions can cause a person to be immunocompromised, including cancer

treatment, bone marrow or organ transplantation, immune deficiencies, poorly controlled HIV or

AIDS, and prolonged use of corticosteroids and other immune weakening medications.”12 Severe

COVID-19 cases can lead to pneumonia and acute respiratory distress syndrome, requiring

hospitalization; in critical cases, some patients need to be intubated and put on a ventilator.

Younger people have also contracted severe cases of COVID-19 and been hospitalized; some have

died. Significantly, even if a person ultimately recovers from COVID-19, it can leave their lungs

severely damaged and weakened.

       38.     The CDC has noted that asymptomatic COVID-19-positive individuals can

transmit the disease to others.13 Studies have confirmed this.14 As a result, the disease can spread

before individuals know that they are affected, facilitating the rapid contagion.

       39.     On March 12, 2020, Governor Tony Evers declared a public health emergency to

direct all resources needed to respond to and contain COVID-19 in Wisconsin.




11
   People who are at higher risk for severe illness, CTRS. FOR DISEASE CONTROL & PREVENTION,
https://www.cdc.gov/coronavirus/2019-ncov/specific-groups/people-at-higher-risk.html    (last
updated Mar. 22, 2020).
12
   Id.
13
   Coronavirus 2019 (COVID-19): How to Prepare, CTRS. FOR DISEASE CONTROL & PREVENTION,
https://www.cdc.gov/coronavirus/2019-ncov/prepare/transmission.html (last updated Mar. 4,
2020).
14
   Mary Van Beusekom, Studies profile lung changes in asymptomatic COVID-19, viral loads in
patient samples, CTR. FOR INFECTIONS DISEASE RES. & POL’Y, UNIV. OF MINN. (Feb. 25, 2020),
http://www.cidrap.umn.edu/news-perspective/2020/02/studies-profile-lung-changes-
asymptomatic-covid-19-viral-loads-patient.
                                                14
       40.     On March 13, 2020, President Donald Trump proclaimed a National Emergency

concerning COVID-19.

       41.     On March 24, 2020, Governor Evers issued Emergency Order #12, the “Safer at

Home” Order, which, starting March 25th, has closed all nonessential businesses in Wisconsin and

requires the state’s residents, with limited exceptions, to stay at home in order to reduce the

transmission of COVID-19.15 The order begins by stating that, “[T]he entire State of Wisconsin -

including residents, businesses, community organizations, and government - need to take all

possible actions to reduce further spread of COVID-19 to save lives.”16 The order continues:

“[S]ocial distancing - the practice of keeping at least six feet apart from others and avoiding direct

physical contact - is the only effective means of slowing the rate of infection. Despite prior

emergency orders banning mass gatherings, the rates of infection continue to drastically increase,

necessitating additional measures to slow the rate of infection and save lives.”17

       42.     Emergency Order #12 mandates that “[a]ll individuals present within the State of

Wisconsin are ordered to stay at home or at their place of residence, with exceptions” for certain

defined “essential activities” such as those to promote individual and family health and safety

including obtaining groceries and medications, “essential governmental functions,” “essential

businesses and operations” such as grocery stores, pharmacies and gas stations, “non-essential

minimum basic operations,” and “essential travel.”18 Furthermore, the Order instructs that “[t]o

the extent individuals are using shared or outdoor spaces other than their home or residence, they

must at all times as reasonably possible maintain social distancing of at least six (6) feet from any




15
   See supra note 1, Emergency Order #12,
16
   Id. at 1.
17
   Id. at 2.
18
   Id. at 2.
                                                 15
other person consistent with Social Distancing Requirements,” as defined.19 The Order mandates

that “[n]on-essential business and operations must cease. All for-profit and non-profit businesses

with a facility in Wisconsin, except Essential Businesses and Operations as defined below, are

required to cease all activities at facilities located within Wisconsin.”20

       43.     Crucially, for purposes of this litigation, the Order commands that, “All public and

private gatherings of any number of people that are not part of a single household or living unit

are prohibited, except for the limited purposes expressly permitted in this Order.”21 It also requires

that, “Elderly people and those who are vulnerable as a result of underlying health conditions

should take additional precautions. People at high risk of severe illness from COVID-19 and

people who are sick are urged to stay in their home or residence to the extent possible except as

necessary to seek medical care.”22

       44.     The pandemic shows no sign of abating before the April 7, 2020 statewide

elections, and the emergency order issued by Governor Evers’ administration took effect March

25, 2020 at 8:00 a.m. and will remain in effect until April 24, 2020 at 8:00 a.m. More importantly,

countless eligible Wisconsin voters will continue to self-quarantine for fear of contracting COVID-

19, and/or for fear of transmitting the disease, regardless of whether they are symptomatic or not.

       45.     Many Wisconsin voters are abandoning plans to vote in person for the April 7, 2020

statewide elections and are requesting absentee mail-in ballots in unprecedented numbers. 626,837

absentee, mail-in ballots have been requested, and 595,195 have been sent, as of the morning of

March 25, 2020.23



19
   Id. at 2.
20
   Id. at 3.
21
   Id. at 3.
22
   Id. at 4.
23
   Absentee Ballot Report, supra note 6.
                                                  16
       46.     Registered voters in Wisconsin can apply for and obtain absentee ballots in a variety

of ways: by mail-in application; in person at the municipal clerk’s office or at an alternate site

under Wis. Stat. § 6.855; by signing a statement and filing a request to receive absentee ballots

under Wis. Stat. § 6.86(2) or Wis. Stat. § 6.86(2m)(a) (indefinitely confined voters) or Wis. Stat.

§§ 6.22(4), 6.24(4), or 6.25(1)(c) (military and overseas voters); by agent as provided in Wis. Stat.

§ 6.86(3) (hospitalized voters); by delivering an application to a special voting deputy under Wis.

Stat. § 6.875(6) (voters in retirement homes and residential care facilities); by email or fax as

provided in Wis. Stat. § 6.86(1)(ac); and by online request via myvote.wi.gov.

       47.     Absentee ballots are cast and returned in different ways as well. Many absentee

voters mail their absentee ballots to the municipal clerk’s office, drop the ballots off or authorize

someone to drop them off on their behalf. Wis. Stat. § 6.87.24 In-person absentee voters vote prior

to Election Day at designated sites, but their ballots are not processed and counted until Election

Day. Wis. Stat. §§ 6.855, 6.87, 6.88. All absentee ballots must be returned to the municipal clerk’s

office by no later than 8:00 p.m. on Election Day. Wis. Stat. § 6.87(6).

       48.     All absentee ballots must be witnessed and signed by an adult U.S. citizen, (other

than those cast by military and overseas voters, whose absentee ballots may be witnessed by an

adult who is not a U.S. citizen), but that individual need not be a resident of Wisconsin or a

registered voter in the state. Wis. Stat. § 6.87(4)(b)1.25 The witness signature requirement applies




24
   See also Uniform Instructions for Wisconsin Absentee Voters, WIS. ELECTIONS COMM’N,
available                at               https://elections.wi.gov/sites/elections.wi.gov/files/2019-
02/Uniform%20Instructions%20for%20Absentee%20Voting%20-
%20All%20Voters%20%20%28Rev.%202-2019%29.pdf (last visited Mar. 25, 2020).
25
   See also Form EL-122, Standard Absentee Ballot Certificate, WIS. ELECTIONS COMM’N,
available                                                                                          at
https://elections.wi.gov/sites/elections.wi.gov/files/gab_forms/4/el_122_standard_absentee_ballo
t_certificate_portra_17554.pdf (last visited Mar. 25, 2020).
                                                 17
to all absentee voters, regardless of the particular method by which the voter cast that absentee

ballot. Id. The absentee ballot certificate contains both a voter certification and a witness

certification, which the voter and witness must respectively sign under penalty of perjury.26

       49.     For in-person absentee voting, the municipal clerks serve as the witnesses, and they

must put down the clerk’s office address but, upon information and belief, they can just use a

stamp.27 Other forms of absentee voting, such as for hospitalized voters and voters in nursing

homes, through an agent or special voting deputy (“SVD”) require the agent or SVD to serve as

the witness.

       50.     Because Wisconsin law requires that mail-in absentee ballots’ certifications be

signed by the voter and by a witness who is an adult U.S. citizen,28 this requirement constitutes an

insurmountable hurdle for many eligible Wisconsin voters under self-quarantine. All eligible

Wisconsin voters under self-quarantine who live alone or who do not have an adult U.S. citizen in

their household will be unable to satisfy the state’s witness signature requirement and cast a mail-

in absentee ballot.

       51.     According to the U.S. Census Bureau, there are over 675,000 single-member

households in Wisconsin, and many other households that include only one adult.29 More than

250,000 of these single-member households are individuals over the age of 65.30

       52.     Since in-person voting would pose a severe risk to the bodily integrity and lives of

eligible Wisconsin voters who are under quarantine, that option is not viable either. Indeed, in-




26
   Id.
27
      See Absentee Voting 101,               WIS. ELECTIONS COMM’N (Sept. 7, 2016),
https://elections.wi.gov/node/4086 (last visited Mar. 25, 2020).
28
   As noted previously, for military and overseas voters, the witness need not be a U.S. citizen.
29
   See U.S. Census Bureau, supra note 7.
30
   Id.
                                                18
person voting, which requires the gathering of many poll workers (or “election inspectors”) and

voters in a single polling place, would seem to violate Emergency Order #12’s clear directives.

Under the current circumstances, given the acknowledged public health hazard of contracting

COVID-19 from in-person voting and Emergency Order #12’s directives to remain at home, the

witness signature requirement preventing certain eligible Wisconsin voters from casting a mail-in

ballot constitutes an undue burden on the right to vote not justified by any legitimate or important

government interest.

        53.     Plaintiffs Sylvia Gear, Dr. Malekeh Hakami, Patricia Ginter, and Claire Whelan are

all eligible, registered Wisconsin voters who must vote by mail-in absentee ballot to safeguard

their lives during this pandemic. Because they all live alone and are all self-quarantining during

the COVID-19 pandemic, given their advanced age and medical histories, the CDC’s

recommendations, and now Governor Evers’s Emergency Order #12, Plaintiffs have no way to

safely obtain a witness signature on their mail-in absentee ballots certifications and are therefore

effectively disenfranchised by Wis. Stat. § 6.87(4)(b)1. Absent a court order enjoining the witness

signature requirement for the duration of the COVID-19 pandemic, and certainly no less than the

duration of Governor Evers’s Emergency Order #12 (currently in effect through April 24, 2020,

subject to any further extension), they will be denied their right to vote in violation of the First and

Fourteenth Amendments to the U.S. Constitution.

        54.     Disenfranchising mail-in absentee voters because they are self-quarantining and

cannot obtain a witness signature on their ballot certification envelope cannot be justified by any

legitimate, important regulatory interest of Wisconsin state government officials, including

Defendants. As is clear from Emergency Order #12, Wisconsin state government officials have a

very strong public health interest in limiting in-person voting and incentivizing participation by



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mail-in absentee ballot. If the latter option is closed off to individuals who live alone or do not

have an adult U.S. citizen in their household, they may well resort to in-person voting, thereby

running the risk of contracting and spreading COVID-19 and further worsening the pandemic in

Wisconsin. Others, like Plaintiffs, will be prevented from voting altogether, an unconstitutional

result that this suit seeks to prevent.

                                               CLAIMS

                                    COUNT ONE
                                    (All Plaintiffs)
(Undue Burden on the Right to Vote in Violation of the First and Fourteenth Amendments
                    to the U.S. Constitution and 42 U.S.C. § 1983)

        55.     The factual allegations contained in paragraphs 1 through 54 are incorporated into

Count One, as though fully set forth herein.

        56.     Under the First and Fourteenth Amendments to the U.S. Constitution, any burden

on the right to vote must be balanced against a state’s interest in that requirement. The Supreme

Court has set forth the following test:

        [T]he rigorousness of our inquiry into the propriety of a state election law depends upon
        the extent to which a challenged regulation burdens First and Fourteenth Amendment
        rights. Thus, as we have recognized when those rights are subjected to “severe” restrictions,
        the regulation must be “narrowly drawn to advance a state interest of compelling
        importance.” Norman v. Reed, 502 U.S. 279, 289, 112 S.Ct. 698, 705, 116 L.Ed.2d 711
        (1992). But when a state election law provision imposes only “reasonable,
        nondiscriminatory restrictions” upon the First and Fourteenth Amendment rights of voters,
        “the State’s important regulatory interests are generally sufficient to justify” the
        restrictions. Anderson, 460 U.S., at 788, 103 S.Ct., at 1569–1570; see also id., at 788–789,
        n. 9, 103 S.Ct., at 1569–1570, n. 9.

Burdick v. Takushi, 504 U.S. 428, 434 (1992); see also One Wisconsin Institute, Inc. v. Thomsen,

15-cv-324-jdp, 2016 WL 4059222 at *3 (W.D. Wis. July 29, 2016) (“This analysis proceeds under

what is known as the Anderson–Burdick framework, which sets out a three-step analysis. First, I

determine the extent of the burden imposed by the challenged provision. Second, I evaluate the



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interest that the state offers to justify that burden. Third, I judge whether the interest justifies the

burden.”).

        57.     The witness signature requirement for absentee mail-in ballots requires mail-in

absentee voters to obtain an adult U.S. citizen’s signature certifying that the voter cast the mail-in

ballot themselves. Wis. Stat. § 6.87(4)(b)1.

        58.     Under the circumstances of the COVID-19 pandemic, which has led both the

federal and Wisconsin state government to declare emergencies and has led Governor Evers to

issue Emergency Order #12, ordering Wisconsin residents to stay at home (with limited

exceptions) and banning “[a]ll public and private gatherings of any number of people that are not

part of a single household or living unit,” it is not safe, reasonable, or even logical to require mail-

in absentee voters who live alone or do not have an adult U.S. citizen living in their household to

seek out and obtain a witness’s signature in order for the ballot to be validly cast and counted.

        59.     Not only does continuing to require a witness signature on a mail-in ballot in the

face of this fast-spreading pandemic lack support from a legitimate government interest that is

“compelling” or “important,” Burdick, 504 U.S. at 434, but it would directly contradict the state’s

proffered interest in maintaining strict separation of people who are not family members, as

manifest on every page of Governor Evers’ Emergency Order #12.

        60.     Given the circumstances of the COVID-19 pandemic, eligible Wisconsin voters

who live alone or who do not have an adult U.S. citizen living in their household simply cannot

comply with the requirements of Wis. Stat. § 6.87(4)(b)1. and still cast a mail-in absentee ballot

that will count. Therefore, under these circumstances, Section 6.87(4)(b)1. now creates an undue

burden on mail-in absentee voters’ right to vote in violation of the First and Fourteenth

Amendments to the U.S. Constitution as construed by Anderson and Burdick.



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        61.     In-person voting of course is not a reasonable alternative, as that would require

these eligible Wisconsin voters to enter a confined space with even more people than would be

required to witness the casting of a mail-in absentee ballot and seriously jeopardize their health

and life.

        62.     Defendants, acting under color of state law, have deprived and will continue to

deprive Plaintiffs of their rights under the First and Fourteenth Amendments to the U.S.

Constitution.

        63.     For the foregoing reasons, Defendants have deprived and will continue to deprive

Plaintiffs of the right to be free of undue burdens on their right to vote in violation of the First and

Fourteenth Amendments to the U.S. Constitution as enforced by 42 U.S.C. § 1983.

                                      PRAYER FOR RELIEF

        Plaintiffs respectfully request that this Court:

        (a) Assume jurisdiction over this matter;

        (b) Declare that Wis. Stat. § 6.87(4)(b)1. violates the First and Fourteenth Amendments to

the U.S. Constitution, as enforced through 42 U.S.C. § 1983;

        (c) Issue a temporary restraining order and a preliminary injunction enjoining Defendants

from enforcing Wis. Stat. § 6.87(4)(b)1. and from rejecting and/or refusing to process and count

absentee mail-in ballots that lack a witness signature for at least such time as Emergency Order

#12 remains in place, subject to further extension;31




31
  Because Defendants cannot feasibly ascertain and police which of Wisconsin’s three million-
plus registered voters live alone and/or have adult U.S. citizen living in the same household,
Plaintiffs seek an injunction blocking this law on its face for at least such time as Emergency Order
#12 remains in place, subject to further extension.
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       (d) Issue a permanent injunction enjoining Defendants from enforcing Wis. Stat. §

6.87(4)(b)1. and from rejecting and/or refusing to process and count absentee mail-in ballots that

lack a witness signature for at least such time as Emergency Order #12 remains in place, subject

to further extension;

       (e) Retain jurisdiction to monitor Defendants’ compliance with this Court’s judgment;

       (f) Grant Plaintiffs their reasonable costs and attorneys’ fees incurred in bringing this action

pursuant to 42 U.S.C. § 1988, 28 U.S.C. § 1920, and as otherwise permitted by law; and

       (g) Grant such other relief as this Court deems just and proper.




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DATE: March 26, 2020        Respectfully submitted,

                            /s/ Jon Sherman

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